
PER CURIAM.
Michael David Kroll pled nolo contendere to two counts of aggravated battery. He was sentenced as an habitual felony offender based on twelve prior convictions, all imposed on June 30, 1987. He argues on appeal that reversal for resentencing is required by Barnes v. State, 576 So.2d 758 (Fla. 1st DCA 1991). We agree. Therefore, Kroll’s sentence as an habitual felony offender is reversed, and the case is remanded for resentencing.
JOANOS, C.J., and SMITH and ZEHMER, JJ., concur.
ON MOTION FOR CERTIFICATION
Appellee’s motion for certification is granted, and we certify to the Florida Supreme Court the same question certified in Keel v. State, 582 So.2d 174 (Fla. 1st DCA 1991).
JOANOS, C.J., and SMITH and ZEHMER, JJ., concur.
